              Case 23-12884-amc                           Doc 10           Filed 09/29/23 Entered 09/29/23 13:14:08                                               Desc Main
                                                                          Document      Page 1 of 44
 Fill in this information to identify your case:

 Debtor 1                   Joseph Edward Collopy
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF PENNSYLVANIA

 Case number           23-12884
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             500,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                7,947.19

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             507,947.19

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             316,376.57

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              44,637.88


                                                                                                                                     Your total liabilities $               361,014.45


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,191.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,527.61

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
           Case 23-12884-amc                         Doc 10           Filed 09/29/23 Entered 09/29/23 13:14:08                      Desc Main
                                                                     Document      Page 2 of 44
 Debtor 1      Joseph Edward Collopy                                                      Case number (if known) 23-12884

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         8,653.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
              Case 23-12884-amc                               Doc 10           Filed 09/29/23 Entered 09/29/23 13:14:08                                    Desc Main
                                                                              Document      Page 3 of 44
Fill in this information to identify your case and this filing:

Debtor 1                    Joseph Edward Collopy
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      EASTERN DISTRICT OF PENNSYLVANIA

Case number            23-12884                                                                                                                                 Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       1940 South Broad Street                                                        Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       Lansdale                          PA        19446-0000                         Land                                       entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                               $500,000.00                $500,000.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee simple
       Montgomery                                                                     Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $500,000.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
          Case 23-12884-amc                        Doc 10          Filed 09/29/23 Entered 09/29/23 13:14:08                                       Desc Main
                                                                  Document      Page 4 of 44
Debtor 1       Joseph Edward Collopy                                                                               Case number (if known)      23-12884
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                  $0.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   (3) couches, grill. (2) bedroom sets. kitchen appliances, mower,
                                   snowblower, pressure washer, washer, dryer,lamps, end tables,
                                   (2) recliners, dining rm table & chairs                                                                                   $4,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                   (3) TVs, (1) computers, 2 cell phones                                                                                       $800.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                                   (6) fishing rods                                                                                                             $50.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                   Used men's clothing                                                                                                         $120.00




Official Form 106A/B                                                  Schedule A/B: Property                                                                      page 2
          Case 23-12884-amc                                     Doc 10              Filed 09/29/23 Entered 09/29/23 13:14:08                            Desc Main
                                                                                   Document      Page 5 of 44
Debtor 1        Joseph Edward Collopy                                                                                       Case number (if known)   23-12884
12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                          (3) dogs - German shepard and 2 bassett hounds and (1) cat                                                                    $1.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                           $5,471.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                        Checking, check
                                            17.1.       card # x9562                            PNC Bank                                                             $100.00



                                            17.2.       Checking x3892                          Chime                                                                $100.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:


Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 3
         Case 23-12884-amc                           Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                Desc Main
                                                                  Document      Page 6 of 44
Debtor 1        Joseph Edward Collopy                                                                       Case number (if known)      23-12884
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                            Institution name:

                                        Beaver Building &                 Capital Group
                                        Remodeling 401(k)                                                                                             $2,126.19


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No

Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
           Case 23-12884-amc                             Doc 10           Filed 09/29/23 Entered 09/29/23 13:14:08                                               Desc Main
                                                                         Document      Page 7 of 44
Debtor 1        Joseph Edward Collopy                                                                                           Case number (if known)        23-12884

       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $2,326.19


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.

      Yes. Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
       No
       Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
       Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
       Yes. Describe.....


                                       Power tools, saws, drills. sanders                                                                                                     $150.00


41. Inventory
       No
       Yes. Describe.....




Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 5
            Case 23-12884-amc                               Doc 10            Filed 09/29/23 Entered 09/29/23 13:14:08                                              Desc Main
                                                                             Document      Page 8 of 44
Debtor 1         Joseph Edward Collopy                                                                                                 Case number (if known)   23-12884
42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                        % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
       No
       Yes. Give specific information.........



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................                   $150.00

Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                 $500,000.00
56. Part 2: Total vehicles, line 5                                                                                 $0.00
57. Part 3: Total personal and household items, line 15                                                        $5,471.00
58. Part 4: Total financial assets, line 36                                                                    $2,326.19
59. Part 5: Total business-related property, line 45                                                             $150.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                        $7,947.19             Copy personal property total               $7,947.19

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $507,947.19




Official Form 106A/B                                                              Schedule A/B: Property                                                                            page 6
             Case 23-12884-amc                 Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                              Desc Main
                                                            Document      Page 9 of 44
Fill in this information to identify your case:

Debtor 1                Joseph Edward Collopy
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF PENNSYLVANIA

Case number           23-12884
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     1940 South Broad Street Lansdale,                      $500,000.00                               $256,263.98      Tenants by the entireties - PA
     PA 19446 Montgomery County                                                                                        common law
     Line from Schedule A/B: 1.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     (3) couches, grill. (2) bedroom sets.                     $4,500.00                                 $4,500.00     Tenants by the entireties - PA
     kitchen appliances, mower,                                                                                        common law
     snowblower, pressure washer,                                                  100% of fair market value, up to
     washer, dryer,lamps, end tables, (2)                                          any applicable statutory limit
     recliners, dining rm table & chairs
     Line from Schedule A/B: 6.1

     (3) TVs, (1) computers, 2 cell phones                         $800.00                                 $800.00     11 U.S.C. § 522(b)(3)(B)
     Line from Schedule A/B: 7.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     (6) fishing rods                                               $50.00                                  $50.00     11 U.S.C. § 522(b)(3)(B)
     Line from Schedule A/B: 9.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
           Case 23-12884-amc                  Doc 10     Filed 09/29/23 Entered 09/29/23 13:14:08                                   Desc Main
                                                        Document     Page 10 of 44
Debtor 1    Joseph Edward Collopy                                                              Case number (if known)     23-12884
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Used men's clothing                                        $120.00                                   $120.00        42 Pa.C.S. § 8124(a)(1)
    Line from Schedule A/B: 11.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    (3) dogs - German shepard and 2                               $1.00                                     $1.00       11 U.S.C. § 522(b)(3)(B)
    bassett hounds and (1) cat
    Line from Schedule A/B: 13.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking, check card # x9562: PNC                          $100.00                                   $100.00        42 Pa.C.S. § 8123(a)
    Bank
    Line from Schedule A/B: 17.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking x3892: Chime                                      $100.00                                   $100.00        42 Pa.C.S. § 8123(a)
    Line from Schedule A/B: 17.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Beaver Building & Remodeling                            $2,126.19                                  $2,126.19        42 PA C.S. § 8124(b)(1)(ix)
    401(k): Capital Group
    Line from Schedule A/B: 21.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Power tools, saws, drills. sanders                         $150.00                                   $150.00        Tenants by the entireties - PA
    Line from Schedule A/B: 40.1                                                                                        common law
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
             Case 23-12884-amc                     Doc 10          Filed 09/29/23 Entered 09/29/23 13:14:08                                       Desc Main
                                                                  Document     Page 11 of 44
Fill in this information to identify your case:

Debtor 1                   Joseph Edward Collopy
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             EASTERN DISTRICT OF PENNSYLVANIA

Case number           23-12884
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     HUD                                      Describe the property that secures the claim:                 $72,640.55                      $0.00         $72,640.55
        Creditor's Name                          1940 S. Broad St., Lansdale. This
                                                 debt is from a previous modification
                                                 which is against the property but
                                                 requires no payment at this time nor
                                                 does it accrue interest.
                                                 As of the date you file, the claim is: Check all that
        801 Market Street                        apply.
        Philadelphia, PA 19107                       Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   Second Mortgage
      community debt

Date debt was incurred                                    Last 4 digits of account number        5195




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
            Case 23-12884-amc                           Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                             Desc Main
                                                                     Document     Page 12 of 44
Debtor 1 Joseph Edward Collopy                                                                               Case number (if known)        23-12884
              First Name                  Middle Name                      Last Name


2.2     Midland Mortgage Co.                       Describe the property that secures the claim:                   $243,736.02                $500,000.00              $0.00
        Creditor's Name                            1940 South Broad Street Lansdale,
                                                   PA 19446 Montgomery County
        P.O. Box 26648
                                                   As of the date you file, the claim is: Check all that
        Oklahoma City, OK                          apply.
        73126-0648                                      Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Mortgage
      community debt

Date debt was incurred          2014                        Last 4 digits of account number         0644


  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $316,376.57
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $316,376.57

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.2
           KML Law Group, P.C.
           701 Market Street                                                                         Last 4 digits of account number
           Suite 5000
           Philadelphia, PA 19106




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 2
             Case 23-12884-amc                         Doc 10       Filed 09/29/23 Entered 09/29/23 13:14:08                                              Desc Main
                                                                   Document     Page 13 of 44
Fill in this information to identify your case:

Debtor 1                     Joseph Edward Collopy
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                EASTERN DISTRICT OF PENNSYLVANIA

Case number           23-12884
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority               Nonpriority
                                                                                                                                            amount                 amount
2.1          Internal Revenue Service                             Last 4 digits of account number        9698                Unknown               Unknown                 Unknown
             Priority Creditor's Name
             Centralized Insolvency Operation                     When was the debt incurred?            2018
             PO Box 7346
             Philadelphia, PA 19101-7346
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       personal income taxes


Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 6
                                                                                                               30258
          Case 23-12884-amc                      Doc 10     Filed 09/29/23 Entered 09/29/23 13:14:08                                            Desc Main
                                                           Document     Page 14 of 44
Debtor 1 Joseph Edward Collopy                                                                   Case number (if known)         23-12884

4.1      Amex                                                Last 4 digits of account number       2013                                               $5,224.36
         Nonpriority Creditor's Name
         Correspondence/Bankruptcy                                                                 Opened 02/17 Last Active
         Po Box 981540                                       When was the debt incurred?           3/12/19
         El Paso, TX 79998
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2      Atlantic States Insurance Co                        Last 4 digits of account number                                                          $6,719.38
         Nonpriority Creditor's Name
         c/o Leviton Law Firm, Ltd.                          When was the debt incurred?           11/17/20
         One Pierce Place, Suite 725 W
         Itasca, IL 60143
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3      Chase Card Services                                 Last 4 digits of account number       8354                                               $2,909.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/09/13 Last Active
         P.O. 15298                                          When was the debt incurred?           01/17
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 6
          Case 23-12884-amc                      Doc 10     Filed 09/29/23 Entered 09/29/23 13:14:08                                            Desc Main
                                                           Document     Page 15 of 44
Debtor 1 Joseph Edward Collopy                                                                   Case number (if known)         23-12884

4.4      Credit One Bank                                     Last 4 digits of account number       4105                                               $1,134.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Department                                                               Opened 07/21 Last Active
         6801 Cimarron Rd                                    When was the debt incurred?           9/27/22
         Las Vegas, NV 89113
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.5      Discover Financial                                  Last 4 digits of account number       2421                                               $8,757.64
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 05/01 Last Active
         Po Box 3025                                         When was the debt incurred?           2/25/20
         New Albany, OH 43054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6      Jefferson Capital Systems, LLC                      Last 4 digits of account number       2003                                               $3,186.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 12/22/22 Last Active
         16 Mcleland Road                                    When was the debt incurred?           06/22
         Saint Cloud, MN 56303
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   12 Oportun Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 6
          Case 23-12884-amc                      Doc 10     Filed 09/29/23 Entered 09/29/23 13:14:08                                            Desc Main
                                                           Document     Page 16 of 44
Debtor 1 Joseph Edward Collopy                                                                   Case number (if known)         23-12884

         Midland Funding/Midland Credit
4.7      Mgmt                                                Last 4 digits of account number       0578                                                 $318.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 07/22 Last Active
         Po Box 939069                                       When was the debt incurred?           12/21
         San Diego, CA 92193
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   01 Webbank


4.8      Mission Lane LLC                                    Last 4 digits of account number       4618                                               $1,325.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 06/21 Last Active
         P.O. Box 105286                                     When was the debt incurred?           12/22
         Atlanta, GA 30348
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.9      PECO                                                Last 4 digits of account number       6018                                               $8,000.00
         Nonpriority Creditor's Name
         Bankruptcy Group                                    When was the debt incurred?           2023
         2301 Market Street, N3-1
         Philadelphia, PA 19103
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utility bill




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 6
          Case 23-12884-amc                      Doc 10       Filed 09/29/23 Entered 09/29/23 13:14:08                                            Desc Main
                                                             Document     Page 17 of 44
Debtor 1 Joseph Edward Collopy                                                                     Case number (if known)         23-12884

4.1
0         Self Financial/lead Ba                               Last 4 digits of account number       9511                                                    $175.00
          Nonpriority Creditor's Name
                                                                                                     Opened 08/21 Last Active
                                                               When was the debt incurred?           02/23
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify


4.1
1         Sunrise Banks                                        Last 4 digits of account number       4677                                                    $724.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                           Opened 8/29/23 Last Active
          200 University Avenue West                           When was the debt incurred?           08/23
          Saint Paul, MN 55103
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Secured


4.1
2         Wells Fargo Bank NA                                  Last 4 digits of account number       1450                                                 $6,165.50
          Nonpriority Creditor's Name
          1 Home Campus Mac X2303-01a                                                                Opened 03/12 Last Active
          3rd Floor                                            When was the debt incurred?           02/20
          Des Moines, IA 50328
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you

Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 6
          Case 23-12884-amc                         Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                           Desc Main
                                                                 Document     Page 18 of 44
Debtor 1 Joseph Edward Collopy                                                                          Case number (if known)         23-12884
  have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
  notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Amato and Keating, P.C.                                      Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
107 North Commerce Way, Suite 100                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Bethlehem, PA 18017-8930
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Midland Credit Mgmt                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
350 Camino De La Reina                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Suite 100
San Diego, CA 92108
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                           0.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                    44,637.88

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                    44,637.88




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 6
              Case 23-12884-amc                       Doc 10         Filed 09/29/23 Entered 09/29/23 13:14:08                           Desc Main
                                                                    Document     Page 19 of 44
Fill in this information to identify your case:

Debtor 1                  Joseph Edward Collopy
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               EASTERN DISTRICT OF PENNSYLVANIA

Case number           23-12884
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
             Case 23-12884-amc                          Doc 10         Filed 09/29/23 Entered 09/29/23 13:14:08               Desc Main
                                                                      Document     Page 20 of 44
Fill in this information to identify your case:

Debtor 1                   Joseph Edward Collopy
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 EASTERN DISTRICT OF PENNSYLVANIA

Case number           23-12884
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Shona Cole, wife                                                                      Schedule D, line   2.2
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G
                                                                                                   Midland Mortgage Co.




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
             Case 23-12884-amc                    Doc 10    Filed 09/29/23 Entered 09/29/23 13:14:08                                Desc Main
                                                           Document     Page 21 of 44


Fill in this information to identify your case:

Debtor 1                      Joseph Edward Collopy

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF PENNSYLVANIA

Case number               23-12884                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Carpenter                                   LP nurse
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Beaver Building & Contractors               Bayada Nurses

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                   Chalfont, PA 18914                          Doylestown, PA 19403

                                             How long employed there?         2 years                                   2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         6,165.00        $         2,853.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             85.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      6,250.00               $   2,853.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
            Case 23-12884-amc              Doc 10       Filed 09/29/23 Entered 09/29/23 13:14:08                                  Desc Main
                                                       Document     Page 22 of 44

Debtor 1    Joseph Edward Collopy                                                                 Case number (if known)    23-12884


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      6,250.00       $         2,853.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,213.00   $               800.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                 0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                 0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $         89.00   $                 0.00
      5e.    Insurance                                                                     5e.        $        742.00   $                68.00
      5f.    Domestic support obligations                                                  5f.        $          0.00   $                 0.00
      5g.    Union dues                                                                    5g.        $          0.00   $                 0.00
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 + $                 0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,044.00       $           868.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,206.00       $          1,985.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              4,206.00 + $       1,985.00 = $            6,191.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $           6,191.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
        Case 23-12884-amc                     Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                  Desc Main
                                                           Document     Page 23 of 44


Fill in this information to identify your case:

Debtor 1                 Joseph Edward Collopy                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF PENNSYLVANIA                                           MM / DD / YYYY

Case number           23-12884
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,047.61

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
       Case 23-12884-amc                      Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                        Desc Main
                                                           Document     Page 24 of 44

Debtor 1     Joseph Edward Collopy                                                                     Case number (if known)      23-12884

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  75.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 260.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                900.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                150.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 350.00
14.   Charitable contributions and religious donations                                       14. $                                                 150.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  225.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Wife's credit cards & loan                                      17c. $                                                  350.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet care                                                            21. +$                                                120.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,527.61
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,527.61
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,191.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,527.61

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 663.39

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
             Case 23-12884-amc               Doc 10      Filed 09/29/23 Entered 09/29/23 13:14:08                             Desc Main
                                                        Document     Page 25 of 44




Fill in this information to identify your case:

Debtor 1                    Joseph Edward Collopy
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      EASTERN DISTRICT OF PENNSYLVANIA

Case number              23-12884
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Joseph Edward Collopy                                         X
             Joseph Edward Collopy                                             Signature of Debtor 2
             Signature of Debtor 1

             Date       September 29, 2023                                     Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
             Case 23-12884-amc                   Doc 10       Filed 09/29/23 Entered 09/29/23 13:14:08                                  Desc Main
                                                             Document     Page 26 of 44



Fill in this information to identify your case:

Debtor 1                  Joseph Edward Collopy
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          EASTERN DISTRICT OF PENNSYLVANIA

Case number           23-12884
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $50,402.20            Wages, commissions,
the date you filed for bankruptcy:                                                                            bonuses, tips
                                               bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
          Case 23-12884-amc                      Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                  Desc Main
                                                              Document     Page 27 of 44
Debtor 1     Joseph Edward Collopy                                                                     Case number (if known)   23-12884


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For last calendar year:                            Wages, commissions,                      $82,367.00            Wages, commissions,
(January 1 to December 31, 2022 )                                                                              bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


For the calendar year before that:                 Wages, commissions,                      $20,192.25            Wages, commissions,                      $0.00
(January 1 to December 31, 2021 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
          Case 23-12884-amc                  Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                  Desc Main
                                                          Document     Page 28 of 44
Debtor 1     Joseph Edward Collopy                                                                 Case number (if known)   23-12884


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                       Nature of the case           Court or agency                         Status of the case
      Case number
      ATEC Fabricators Inc v. Collopy                  Civil                        Montgomery County Court                    Pending
      Construction Inc                                                              of Common Pleas                            On appeal
      2018-23776                                                                    P.O. Box 311
                                                                                                                               Concluded
                                                                                    Norristown, PA 19404
                                                                                                                            Judgement entered
                                                                                                                            10/10/18 $1827.75

      Midfirst Bank v. Jos Joseph E.                   Foreclosure                  Montgomery County Court                    Pending
      Collopy, et al                                                                of Common Pleas                            On appeal
      2019-12794                                                                    P.O. Box 311
                                                                                                                               Concluded
                                                                                    Norristown, PA 19404

      Midfirst Bank v. Joseph E. Collopy               Foreclosure                  Montgomery County Court                    Pending
      et al                                                                         of Common Pleas                            On appeal
      2019-27019                                                                    P.O. Box 311
                                                                                                                               Concluded
                                                                                    Norristown, PA 19404

      William R. McLaughlin v. Joseph E.               Confession of                Montgomery County Court                    Pending
      Collopy et al                                    judgment                     of Common Pleas                            On appeal
      2020-12222                                                                    P.O. Box 311
                                                                                                                               Concluded
                                                                                    Norristown, PA 19404
                                                                                                                            Judgment Entered 7/28/20
                                                                                                                            $12,100.25

      Pritam Patel v. Joseph E. Collopy                Judgment from                Montgomery County Court                    Pending
      2020-13492                                       District Court               of Common Pleas                            On appeal
                                                                                    P.O. Box 311
                                                                                                                               Concluded
                                                                                    Norristown, PA 19404
                                                                                                                            Judgment entered 8/18/20
                                                                                                                            $7,599.80

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
          Case 23-12884-amc             Doc 10      Filed 09/29/23 Entered 09/29/23 13:14:08                                 Desc Main
                                                   Document     Page 29 of 44
Debtor 1     Joseph Edward Collopy                                                          Case number (if known)   23-12884


      Case title                                Nature of the case           Court or agency                         Status of the case
      Case number
      Atlantic States Insurance Co v.           Judgment from                Montgomery County Court                    Pending
      Joseph E. Collopy et al                   District Court               of Common Pleas                            On appeal
      2020-19424                                                             P.O. Box 311
                                                                                                                        Concluded
                                                                             Norristown, PA 19404
                                                                                                                     Judgment entered 11/17/20
                                                                                                                     $6,625.26

      William R Mclaughlin vs JOSEPH            SMALL CLAIMS                 MUNICIPAL COURT - CIVIL                    Pending
      COLLOPY, COLLOPY                          JUDGMENT                     DIVISION                                   On appeal
      CONSTRUCTION CO                                                                                                   Concluded
      SC1912033181
                                                                                                                     - 12,000.00

      State Of Pennsylvania vs JOSEPH           STATE TAX LIEN               DELAWARE COUNTY                            Pending
      COLLOPY, COLLOPY                                                       PROTHONOTARY                               On appeal
      CONSTRUCTION                                                                                                      Concluded
      CV2018061822
                                                                                                                     - 1,428.00

      MidFirst Bank v. Joseph E. Collopy        Foreclosure                  Montgomery County Court                    Pending
      et al                                                                  of Common Pleas                            On appeal
      2023-09532                                                             P.O. Box 311
                                                                                                                        Concluded
                                                                             Norristown, PA 19404

      Pennsylvania Unemployment                 Commonwealth                 Montgomery County Court                    Pending
      Compensation Fund v. Jospeh               Lien                         of Common Pleas                            On appeal
      Collopy                                                                P.O. Box 311
                                                                                                                        Concluded
      2023-60511                                                             Norristown, PA 19404

      Unknown Plaintiff vs Unknown              BankruptcyChapt              US BKPT CT PA PHILADEL                     Pending
      Defendant                                 er13                                                                    On appeal
      2111121AMC                                                                                                        Concluded

                                                                                                                     Dismissed - 0.00

      Unknown Plaintiff vs Unknown              BankruptcyChapt              US BKPT CT PA PHILADEL                     Pending
      Defendant                                 er13                                                                    On appeal
      2011342JKF                                                                                                        Concluded

                                                                                                                     Dismissed - 0.00

      JOSEPH COLLOPY vs Unknown                 Bankruptcy                   PENNSYLVANIA EASTERN                       Pending
      Defendant                                 Chapter 13                   - PHILADELPHIA                             On appeal
      2111121                                                                                                           Concluded

                                                                                                                     Dismissed - 0.00

      JOSEPH COLLOPY vs Unknown                 Bankruptcy                   PENNSYLVANIA EASTERN                       Pending
      Defendant                                 Chapter 13                   - PHILADELPHIA                             On appeal
      2011342                                                                                                           Concluded

                                                                                                                     Dismissed - 0.00




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
          Case 23-12884-amc                      Doc 10      Filed 09/29/23 Entered 09/29/23 13:14:08                                     Desc Main
                                                            Document     Page 30 of 44
Debtor 1     Joseph Edward Collopy                                                                   Case number (if known)    23-12884


      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      State Of Pennsylvania vs JOSEPH                    STATE TAX LIEN               COURT OF COMMON                             Pending
      COLLOPY                                                                         PLEAS - CIVIL                               On appeal
      202360511                                                                                                                   Concluded

                                                                                                                               - 7,982.00

      Atlantic States Insurance Co vs                    CIVIL JUDGMENT               COURT OF COMMON                             Pending
      JOSEPH COLLOPY, COLLOPY                                                         PLEAS - CIVIL                               On appeal
      CONSTRUCTION, et al.                                                                                                        Concluded
      202019424
                                                                                                                               - 6,625.00

      Pritam Patel vs JOSEPH                             CIVIL JUDGMENT               COURT OF COMMON                             Pending
      COLLOPY, MACINTOSH                                                              PLEAS - CIVIL                               On appeal
      CONSTRUCTION                                                                                                                Concluded
      202013492
                                                                                                                               - 7,599.00

      William R Mclaughlin vs JOSEPH                     CIVIL JUDGMENT               COURT OF COMMON                             Pending
      COLLOPY, MACINTOSH                                                              PLEAS - CIVIL                               On appeal
      CONSTRUCTION CO                                                                                                             Concluded
      202012222
                                                                                                                               - 12,100.00

      William R Mclaughlin vs JOSEPH                     SMALL CLAIMS                 MUNICIPAL COURT - CIVIL                     Pending
      COLLOPY, COLLOPY                                   JUDGMENT                     DIVISION                                    On appeal
      CONSTRUCTION CO                                                                                                             Concluded
      SC1912033181
                                                                                                                               - 12,000.00

      State Of Pennsylvania vs JOSEPH                    STATE TAX LIEN               DELAWARE COUNTY                             Pending
      COLLOPY, COLLOPY                                                                PROTHONOTARY                                On appeal
      CONSTRUCTION                                                                                                                Concluded
      CV2018061822
                                                                                                                               - 1,428.00


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
          Case 23-12884-amc                      Doc 10          Filed 09/29/23 Entered 09/29/23 13:14:08                                     Desc Main
                                                                Document     Page 31 of 44
Debtor 1     Joseph Edward Collopy                                                                       Case number (if known)    23-12884


Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                  Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                       Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                              lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      William D. Schroeder, Jr.                                    Attorney Fees                                            September                  $3,500.00
      920 Lenmar Drive                                                                                                      2023
      Blue Bell, PA 19422
      schroeder@jrlaw.org


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
                                                                                                                            made




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
          Case 23-12884-amc                      Doc 10          Filed 09/29/23 Entered 09/29/23 13:14:08                                  Desc Main
                                                                Document     Page 32 of 44
Debtor 1      Joseph Edward Collopy                                                                      Case number (if known)   23-12884


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or       Date transfer was
      Address                                                      property transferred                       payments received or debts     made
                                                                                                              paid in exchange
      Person's relationship to you
      Bucks County Clerk of Courts                                 $5,000.00                                  Fulfilled court order of       2022-2023
      Criminal Division                                                                                       prosecution and fine.
      Admin Bldg, 4th Floor
      Doylestown, PA 18901



      Restitution recipients                                       $37,000.00                                 Court ordered restitution      2022-2023
      c/o Bucks County Clerk of Courts



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                             made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was            Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,           before closing or
      Code)                                                                                                           moved, or                        transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                              have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access            Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                      have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7
           Case 23-12884-amc                     Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                                     Desc Main
                                                              Document     Page 33 of 44
Debtor 1     Joseph Edward Collopy                                                                          Case number (if known)   23-12884


Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                  Status of the
      Case Number                                                Name                                                                           case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
          Case 23-12884-amc                        Doc 10      Filed 09/29/23 Entered 09/29/23 13:14:08                                Desc Main
                                                              Document     Page 34 of 44
Debtor 1     Joseph Edward Collopy                                                                     Case number (if known)   23-12884



           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business               Employer Identification number
      Address                                                                                                Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                             Dates business existed
      Collopy Construction                                 Construction -out of business by                  EIN:         XX-XXXXXXX
      d/b/a Macintosh Construction Co.                     end of 2019.
      1940 S. Broad Street                                                                                   From-To      2013-2019
      Lansdale, PA 19446-5548                              William P. Cole, CPA


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 9
           Case 23-12884-amc             Doc 10       Filed 09/29/23 Entered 09/29/23 13:14:08                                Desc Main
                                                     Document     Page 35 of 44
Debtor 1     Joseph Edward Collopy                                                            Case number (if known)   23-12884



Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Joseph Edward Collopy
Joseph Edward Collopy                                       Signature of Debtor 2
Signature of Debtor 1

Date     September 29, 2023                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 10
         Case 23-12884-amc                    Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                         Desc Main
                                                           Document     Page 36 of 44

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
         Case 23-12884-amc                    Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                            Desc Main
                                                           Document     Page 37 of 44


       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
         Case 23-12884-amc                    Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                          Desc Main
                                                           Document     Page 38 of 44
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
         Case 23-12884-amc                    Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                          Desc Main
                                                           Document     Page 39 of 44
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
           Case 23-12884-amc                     Doc 10        Filed 09/29/23 Entered 09/29/23 13:14:08                           Desc Main
                                                              Document     Page 40 of 44

                                                          United States Bankruptcy Court
                                                               Eastern District of Pennsylvania
 In re       Joseph Edward Collopy                                                                            Case No.
                                                                              Debtor(s)                       Chapter    13


                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that compensation
      paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
      behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                   5,875.00
             Prior to the filing of this statement I have received                                        $              $1,875.00
             Balance Due                                                                                  $                   4,000.00

2.    The source of the compensation paid to me was:
                  Debtor               Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor               Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render the following legal service, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiations with secured creditors to reduce claims; exemption planning; review and filing of reaffirmation
              agreements; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on
              household goods. Transmittal of trustee and mortgage payments. Filing of claims on behalf of reluctant
              creditors. Evaluations of claims but not claim objections; filing and service of a first amended chapter 13 plan
              but not subsequent plans, either pre or post confirmation. Creditor phone calls indicating representation.
              Representation of the debtor in any dischargeability actions, other judicial lien avoidances against real estate,
              motions for relief from stay or motions to dismiss; unless immediately cured with minimal involvement;
              adversary proceedings or any contested matters. The fee does not include contesting any claims filed by
              creditors including mortgagee or tax authority claims. Trustee inquiries, responses or inquiries thereto,
              litigation, a second appearance for a 341 meeting if client fails to appear for first. Any and all appearance before
              the court. Any additional or needless work created by client to deliver reasonably requested information in a
              timely basis. Mortgage modification requests and processing or refinancing during bankruptcy proceedings
              TILA litigation. Attorney fee for these matters is the prevailing rate at the time; presently $300.00 hour, paralegal
              time $80.00 per hour. Objection to Confirmation except one addressed by amending plan to conform with
              accepted claim. Amendments to schedules or statement of financial affairs caused by debtors behavior or
              actions. Conversion of Bankruptcy to Chapter 7.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:                                                                       /s/ William D. Schroeder, Jr.

                                                                             William D. Schroeder, Jr.
                                                                             920 Lenmar Drive
                                                                             Blue Bell, PA 19422
                                                                             (215) 822-2728
                                                                             schroeder@jrlaw.org




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 23-12884-amc             Doc 10     Filed 09/29/23 Entered 09/29/23 13:14:08                        Desc Main
                                                 Document     Page 41 of 44




                                              United States Bankruptcy Court
                                                 Eastern District of Pennsylvania
 In re   Joseph Edward Collopy                                                                 Case No.    23-12884
                                                                   Debtor(s)                   Chapter     13




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: September 29, 2023                               /s/ Joseph Edward Collopy
                                                       Joseph Edward Collopy
                                                       Signature of Debtor
    Case 23-12884-amc   Doc 10    Filed 09/29/23 Entered 09/29/23 13:14:08   Desc Main
                                 Document     Page 42 of 44


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         Amato and Keating, P.C.
                         107 North Commerce Way, Suite 100
                         Bethlehem, PA 18017-8930



                         Amex
                         Correspondence/Bankruptcy
                         Po Box 981540
                         El Paso, TX 79998



                         Atlantic States Insurance Co
                         c/o Leviton Law Firm, Ltd.
                         One Pierce Place, Suite 725 W
                         Itasca, IL 60143



                         Chase Card Services
                         Attn: Bankruptcy
                         P.O. 15298
                         Wilmington, DE 19850



                         Credit One Bank
                         Attn: Bankruptcy Department
                         6801 Cimarron Rd
                         Las Vegas, NV 89113



                         Discover Financial
                         Attn: Bankruptcy
                         Po Box 3025
                         New Albany, OH 43054



                         HUD
                         801 Market Street
                         Philadelphia, PA 19107



                         Internal Revenue Service
                         Centralized Insolvency Operation
                         PO Box 7346
                         Philadelphia, PA 19101-7346
Case 23-12884-amc   Doc 10    Filed 09/29/23 Entered 09/29/23 13:14:08   Desc Main
                             Document     Page 43 of 44



                     Jefferson Capital Systems, LLC
                     Attn: Bankruptcy
                     16 Mcleland Road
                     Saint Cloud, MN 56303



                     KML Law Group, P.C.
                     701 Market Street
                     Suite 5000
                     Philadelphia, PA 19106



                     Midland Credit Mgmt
                     350 Camino De La Reina
                     Suite 100
                     San Diego, CA 92108



                     Midland Funding/Midland Credit Mgmt
                     Attn: Bankruptcy
                     Po Box 939069
                     San Diego, CA 92193



                     Midland Mortgage Co.
                     P.O. Box 26648
                     Oklahoma City, OK 73126-0648



                     Mission Lane LLC
                     Attn: Bankruptcy
                     P.O. Box 105286
                     Atlanta, GA 30348



                     PECO
                     Bankruptcy Group
                     2301 Market Street, N3-1
                     Philadelphia, PA 19103



                     Self Financial/lead Ba
Case 23-12884-amc   Doc 10    Filed 09/29/23 Entered 09/29/23 13:14:08   Desc Main
                             Document     Page 44 of 44



                     Sunrise Banks
                     Attn: Bankruptcy
                     200 University Avenue West
                     Saint Paul, MN 55103



                     Wells Fargo Bank NA
                     1 Home Campus Mac X2303-01a
                     3rd Floor
                     Des Moines, IA 50328
